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IN THE UNITED sTATES DISTRICT COURT F"'Ew §§""iU'k'! U'C`
FOR THE wEsTERN DISTRICT oF TENNESSEE n _ l_
wEsTERN DIVISION '~35?_-*[“151`! '3 53§'1 L€': 53

 

UNITED STATES OF AMERICA,

 

Plaintiff,
vs. Cr. No. 2:04~20400 D
CLYDE ARMSTEAD,

Defendant.

 

ORDER GRANTING APPLICATION FOR WRIT
OF HABEAS CORPUS AD TESTIFICANDUM

 

THIS CAUSE having some before this Court on the _;Eé; day of
May, 2005, upon the petition of the defendant for an order
directing a Writ of Habeas Corpus Ad Testifioandum, and for good
Cause shown, the court hereby GRANTS the motion.

The United States Marshal for the Western District of
Tennessee, is hereby commanded to have David Milken, Booking Number
04119183, RNI # 220546, who is Confined at the Shelby County Jail,
201 Poplar, to appear before United States District Court Judge
Donald in Court on Wednesday, May ll, 2005, at 9:00 a.m.

IT IS SO ORDERED.

 

DATE ITED STATES DISTRICT COU T JUDGE

This document entered en the docket sheet in compliance

with F\uie 55 and/or 32(|:)) FRCrP on 5 V§ "C‘S/ ib
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Notice of Distribution

This notice confirms a copy cf the document docketed as number 36 in
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Honorable Bernice Donald
US DISTRICT COURT

